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AO 245B (Rev. 02/18) Judgment in a Criminal Case
Sheet | Tact.

FILED
UNITED STATES DISTRICT COURT JUL 27 2018

Eastern District of Kentucky — Central Division at Lexington, LEXINGTON

ROBERT R. CARR

 

 

 

) CLERK U.S. DISTRICT COURT
UNITED STATES OF AMERICA ) JUDGMENT IN A CRIMINAL CASE
v. )
Brandie M. Stamper Case Number: 5:17-CR-60-KKC-2
USM Number: — 21519-032
) John C. Helmuth
) Defendant’s Attorney
THE DEFENDANT:
&] pleaded guilty to count(s) _1,4,5
(1 pleaded nolo contendere to count(s)
which was accepted by the court.
1 was found guilty on count(s)
after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section Nature of Offense Offense Ended Count
21:846 Conspiracy to PWID 40 gm. or More of Fentanyl, More than 28 gm. Of Cocaine 1/30/17
Base and More than 500 gm. Of Cocaine l
18:922(g)(1) Possession of a Firearm by a Convicted Felon 1/30/17 4
18:924(¢)(1) Possession of a Firearm in Furtherance of Drug Trafficking Crime 1/30/17 5
The defendant is sentenced as provided in pages 2 through 7 ___ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
[1] The defendant has been found not guilty on count(s) a
f Count(s) 2 ® is © are dismissed on the motion of the United States.

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

July 26, 2018 /
Date of Imposition of Judgment

 Cotduall

of Judge

 
 
 
 

Honorable Karen K. Caldwell, Chief U.S. District Judge
Name and Title of Judge

why 47, 2017 :

Date
Case: 5:17-cr- - iled: -
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Sheet 2 - Imprisonment

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DEFENDANT: Brandie M. Stamper
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IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of:
ONE HUNDRED TWENTY (120) MONTHS on Counts 1 and 4 to run concurrently; SIXTY (60) MONTHS on Count 5, to run
consecutively to Counts | and 4, for a total term of ONE HUNDRED EIGHTY MONTHS (180) MONTHS

& The court makes the following recommendations to the Bureau of Prisons:

It is recommended to the Bureau of Prisons that the defendant participate in the 500-Hour RDAP Program.
It is recommended to the Bureau of Prisons that the defendant participate in a job skills and/or vocational training program.
It is recommended to the Bureau of Prisons that the defendant participate in a mental health evaluation and treatment program.

™ The defendant is remanded to the custody of the United States Marshal.

© The defendant shall surrender to the United States Marshal for this district:
Oat O a.m. Cl p.m. on
0 sas notified by the United States Marshal.

‘The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
[) before 2 p.m. on
(1) asnotified by the United States Marshal.

1 as notified by the Probation or Pretrial Services Office.

RETURN
[ have executed this judgment as follows:
Defendant delivered on : to oe
at , with a certified copy of this judgment.
UNITED STATES MARSHAL -
By

‘DEPUTY UNITED STATES MARSHAL
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See

7.

Sheet 3 - Supervised Release

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DEFENDANT: Brandie M. Stamper
CASE NUMBER: 5:17-CR-60-KKC-2

SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of :

EIGHT (8) YEARS on Count 1; THREE (3) YEARS on Count 4; FIVE (5) YEARS on Count 5, all to run concurrently,

for a total term of EIGHT (8) YEARS

MANDATORY CONDITIONS

You must not commit another federal, state or local crime.
You must not unlawfully possess a controlled substance.
You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
imprisonment and at least two periodic drug tests thereafter, as determined by the court.

C1 The above drug testing condition is suspended, based on the court’s determination that you

pose a low risk of future substance abuse. (Check, if applicable.)

© You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
restitution. (Check, if applicable.)
You must cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
reside, work, are a student, or were convicted of a qualifying offense. (Check, if applicable.)
© You must participate in an approved program for domestic violence. (Check, if applicable.)

Ob

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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Sheet 3C - Supervised Release

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DEFENDANT: Brandie M. Stamper
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STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

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You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.

After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.

You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
court or the probation officer.

You must answer truthfully the questions asked by your probation officer.

You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.

You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
take any items prohibited by the conditions of your supervision that he or she observes in plain view.

You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming
aware of a change or expected change.

You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted ofa felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.

If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
first getting the permission of the court.

If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that you have notified the person about the risk.

You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A USS. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts. gov.

Defendant's Signature Date

 
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Sheet 5 - Criminal Monetary Penalties

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DEFENDANT: Brandie M,. Stamper
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SPECIAL CONDITIONS OF SUPERVISION

You must abstain from the use of alcohol.

You must not purchase, possess, use, distribute or administer any controlled substance or paraphernalia related to controlled
substances, except as prescribed by a physician, and must not frequent places where controlled substances are illegally sold, used,
distributed or administered.

You must submit your person, property, house, residence, vehicle, papers, computers (as defined in 18 U.S.C. § 1030(e)(1), but
including other devices excluded from this definition), other electronic communications or data storage devices or media, or office, to
a search conducted by a United States probation officer. Failure to submit to a search will be grounds for revocation of release. You
must warn any other occupants that the premises may be subject to searches pursuant to this condition.

You must provide to the USPO, within 7 (seven) days of release from the custody of the Bureau of Prisons, a written report, in a form
the USPO directs, listing each and every prescription medication in your possession, custody or control. The list must include, but not
be limited to, any prescription medication that contains a controlled substance and encompasses all current, past and outdated or
expired prescription medications in your possession, custody, or control at the time of the report.

You must notify the USPO immediately (i.e., within no later than 72 hours) if you receive any prescription for a medication containing
a controlled substance during the period of supervised release. You must provide the USPO such documentation and verification as the
USPO may reasonably request and in a form the USPO directs,

You must comply strictly with the orders of any physician or other prescribing source with respect to use of all prescription
medications.

You must report any theft or destruction of your prescription medications to the U.S. Probation Officer within 72 hours of the theft or
destruction.

You must refrain from obstructing or attempting to obstruct or tamper, in any fashion, with the efficiency and accuracy of any
prohibited substance testing required as a condition of release.

You must attend and successfully complete any mental health diagnostic evaluations and treatment or counseling programs as directed
by the probation officer. You must pay for the cost of treatment services to the extent you are able as determined by the probation
officer.

You must participate in a substance abuse treatment program and must submit to periodic drug and alcohol testing at the direction and
discretion of the probation officer during the term of supervision. Said program may include one or more cognitive behavioral
approaches to address criminal thinking patterns and antisocial behaviors. You must pay for the cost of treatment services to the
extent you are able as determined by the probation officer.
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Sheet 3C — Supervised Release (continued)

 

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DEFENDANT: Brandie M. Stamper
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CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

 

Assessment JVTA Assessment” Fine Restitution
TOTALS 300.00 pies . .
$ (100/Count) $ N/A $ Waived § Community Waived
[] The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (40 245C) will be entered

after such determination.

C1 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
before the United States is paid.

Name of Payee Total Loss** Restitution Ordered Priority or Percentage
TOTALS $ $

O Restitution amount ordered pursuant to plea agreement $

O The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

O ‘The court determined that the defendant does not have the ability to pay interest and it is ordered that:
Cl the interest requirement is waived forthe () fine (I restitution.

C1 the interest requirement forthe © fine O restitution is modified as follows:

* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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Sheet 6 - Schedule of Payments

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SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:
A & Lumpsumpaymentof$ 300.00 | due immediately, balance due

L] not later than , or
 inaccordance with [J] C, [J D [ E,or F below; or

B  ( Payment to begin immediately (may be combined with [1 ¢, [] D,or [] F below); or

C () Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or

D (Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g, months or years), tocommence —__ (e.g., 30 or 60 days) after release from imprisonment to a

term of supervision; or

E [© Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F 8 Special instructions regarding the payment of criminal monetary penalties:
Criminal monetary penalties are payable to:
Clerk, U. S. District Court, Eastern District of Kentucky
101 Barr Street, Room 206, Lexington KY 40507

INCLUDE CASE NUMBER WITH ALL CORRESPONDENCE

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during the
period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
CJ Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount, and
corresponding payee, if appropriate.

(1 The defendant shall pay the cost of prosecution.
O The defendant shall pay the following court cost(s):

i The defendant shall forfeit the defendant’s interest in the following property to the United States:
All Items listed in the Forfeiture Allegation of the Indictment.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(S) fine interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
